                                                 U.S. Department of Justice


                                                 United States Attorney
                                                 Eastern District of New York
MPR/RCH/EMR                                      271 Cadman Plaza East
F. #2019R00927                                   Brooklyn, New York 11201


                                                 September 29, 2020

By FedEx

Cesar DeCastro, Esq.
7 World Trade Center, 34th Floor
New York, NY 10007

                Re:   United States v. Genaro Garcia Luna
                      Criminal Docket No. 19-576 (BMC)

Dear Counsel:

              Enclosed please find the government’s supplemental discovery in accordance
with Rule 16 of the Federal Rules of Criminal Procedure. Please note the enclosed discovery
contains Protected Material and should be handled consistently with the Protective Order.
The government also requests reciprocal discovery from the defendant.
I.     The Government’s Discovery

       Enclosed please find:

        Videos and video translations, Bates-numbered 00000172455-00000172477;
        Certified public records, Bates-numbered 00000172478-00000172529;
        Intercepted communications, Bates-numbered 00000172530-00000174024;
        Search warrants, Bates-numbered 00000174025-00000176289;
        Files from Mexican law enforcement, Bates-numbered 00000176290-
         00000176703;
        Mutual Legal Assistance Treaty requests and responses, 00000176704-
         00000178008;
        Ledgers and Business and Financial Records, Bates-numbered 00000178009-
         00000183240, 00000183464-00000189364; and
        Statements of the defendant and related documents, Bates-numbered
         00000183241-00000183463.
               If you have any questions or requests regarding further discovery or a
disposition of this matter, please do not hesitate to contact me.

                                                  Very truly yours,

                                                  SETH D. DUCHARME
                                                  Acting United States Attorney

                                           By:     /s/
                                                  Michael P. Robotti
                                                  Ryan C. Harris
                                                  Erin M. Reid
                                                  Assistant U.S. Attorneys
                                                  (718) 254-7000

Enclosures

cc:    Clerk of Court (BMC) (via ECF)




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